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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

BELCALIS MARLENIS ALMANZAR,                      *
                                                 *
                            Plaintiff,           *
                                                 *             Civil Action No.
        v.                                       *             1:19-cv-01301-WMR
                                                 *
LATASHA TRANSRINA KEBE et al.,                   *
                                                 *
                            Defendants.          *

             DEFENDANTS’ MEMORANDUM OF LAW REGARDING
                          INJUNCTIVE RELIEF

        COME NOW Defendants, Latasha Kebe (“Kebe”) and Kebe Studios LLC

(“Kebe Studios”), by and through undersigned Counsel, and, pursuant to this

Honorable Court’s order, submit this Memorandum of Law Regarding Permanent

Injunctions.

   I.        INTRODUCTION

        At the conclusion of the jury trial in this case, this Court ordered the parties to

research and submit a memorandum, detailing the applicable law on injunctions for

the Court’s consideration in advance of the April 1, 2022 hearing regarding

injunctive relief.
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   II.      LEGAL STANDARD FOR PERMANENT INJUNCTION

         It must be noted that during the entire pendency of this case, Plaintiff never

requested a temporary restraining order or preliminary injunction. Furthermore, no

motion for a permanent injunction has ever been filed. Plaintiff requested injunctive

relief solely in the Prayer for Relief section of her Complaint.

         The case at bar is a diversity action, with no issues or claims raising federal

questions, and is, therefore, governed by Georgia state law. See generally Erie R.R.

Co. v. Tompkins, 304 U.S. 64 (1938). “A federal court sitting in diversity applies the

substantive law of the state in which it sits, including that state’s choice of law.”

Ferrero v. Assoc. Materials Inc., 923 F.2d 1441, 1444 (11th Cir. 1991). Defendants

acknowledge that when determining the appropriateness of a temporary restraining

order, or a preliminary injunction, the federal standard should be applied. See Fed.

R. Civ. P. 65. The difference stems from the fact that a preliminary injunction is a

procedural matter (governed by the federal rules) and a permanent injunction is

substantive (governed by state law).

   III.     DISCUSSION

         Entry of a permanent injunction is appropriate only in clear and urgent cases

where there is a vital necessity to prevent a party from being damaged and left

without an adequate remedy at law. See Harris v. S. Christian Leadership


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Conference, Inc., 721 S.E.2d 906, 908 (Ga. Ct. App. 2011), Savannah Cemetery

Grp., Inc. v. Depue-Wilbert Vault Co., 704 S.E.2d 858, 864 (Ga. Ct. App. 2010),

Robinson v. Landings Assoc., Inc., 440 S.E.2d 198, 199 (Ga. 1994); see also

O.C.G.A. §§ 9-5-1, 9-5-8, and 9-5-10. “Equity will not take cognizance of a plain

legal right where an adequate and complete remedy is provided by law . . . .”

O.C.G.A. § 23-1-4.

      Equitable relief is a matter within the sound discretion of the trial court and

the grant of a permanent injunction is to be sustained on review unless the trial court

has manifestly abused its discretion. Harris at 364, Savannah Cemetery Group at

864. A trial court manifestly abuses its discretion when it grants an injunction

adverse to a party without any evidence to support such judgment and contrary to

the law and equity. Savannah Cemetery Group at 864.

      Before the trial court can exercise its discretion with regard to issuing a

permanent injunction, Plaintiff must first show that she has a legal right to relief.

Robinson at 199. Even though the jury returned a verdict in Plaintiff’s favor, that, by

itself, is not sufficient to secure a permanent injunction. The general rule in Georgia

is that an injunction will not be granted to restrain defamation. See Ga. Soc’y of

Plastic Surgeons, Inc. v. Anderson, 363 S.E2d 140, 144 (Ga. 1987), McFarlan v.

Manget, 174 S.E. 712, 712 (Ga. 1934). However, Georgia Courts have approved a


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permanent injunction against libel where, among other things, there was a continuing

course of repetitive conduct and the jury returned a verdict for plaintiff. See Ga.

Soc’y of Plastic Surgeons at 144, and Retail Credit Co. v. Russell, 218 S.E.2d 54,

62-63 (Ga. 1975).

      Plaintiff must prove that she is suffering, and will continue to suffer,

irreparable harm, which entitles her, as a legal right, to injunctive relief. See Harris

at 908-09, Savannah Cemetery Group at 864-65, Robinson at 200. In addition to

showing a real and immediate threat of future injury, Plaintiff must prove that the

compensatory and punitive damages the jury awarded her are inadequate as a remedy

provided at law. See O.C.G.A § 9-5-1.

                                      CONCLUSION

      Plaintiff has the burden of establishing that there is a vital necessity for a

permanent injunction and that, without one, Plaintiff will continue to be damaged

and remain without an adequate remedy at law. Even though this Court has great

discretion when deciding whether to issue an injunction, the Defendants doubt that

Plaintiff can satisfy her burden of proof.

      WHEREFORE, the Defendants respectfully request that this Honorable Court

decline to issue a permanent injunction.




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                       CERTIFICATION AS TO FONT

      In accordance with Local Rule 7.1(D), the undersigned certifies that the

foregoing document was prepared with Times New Roman 14 point, a font and point

selection approved by the Court in Local Rule 5.1(C).

                  Respectfully submitted this 3rd day of March, 2022.


                                            /s/Olga Izmaylova
                                            olga@silawatl.com
                                            Georgia State Bar No. 666858


                                            /s/Sadeer Sabbak
                                            ssabbak@silawatl.com
                                            Georgia State Bar No. 918493

SABBAK & IZMAYLOVA, P.C.                    Attorneys for the Defendants
1875 Old Alabama Road
Suite 510
Roswell, Georgia 30076
p. (404) 793-7773
f. (770) 797-5887




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                          CERTIFICATE OF SERVICE

       I hereby certify that on March 3, 2022, I electronically filed the foregoing

DEFENDANTS’ MEMORANDUM OF LAW REGARDING INJUNCTIVE

RELIEF with the Clerk of the Court using the CM/ECF system, which will

automatically send email notification of such filing to all of the attorneys of record.



                                               /s/Olga Izmaylova
                                               olga@silawatl.com
                                               Georgia State Bar No. 666858

SABBAK & IZMAYLOVA, P.C.
1875 Old Alabama Road
Suite 510
Roswell, Georgia 30076
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